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UNITED STATES DISTRlCT COURT                                                DOCUMENT
SOUTHERN DISTRlCT OF NEW YORK                                               ELECTRONlCAiLYFILBD·,
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                                                                            DATE FILED:     01:1..,4///
WILLIAM L KOCH, an individual,

                                            Plaintiff,                        07 Civ. 9600 (BSJ) (DF)

                          -against-                                           ORDER

ERlC GREENBERG, an individual,

                                            Defendant.
-----------------------------------------------------------------------)(
DEBRA FREEMAL~, United States Magistrate Judge:

        Currently before the Court is a motion (DIct. 118) by plaintiff William L Koch ("Koch")

to vacate or modifY the Confidentiality and Protective Order (Dkt. 78) in this case or, in the

alternative, to remove confidentiality designations made by defendant Eric Greenberg

("Greenberg") pursuant to the Confidtntlality and Protective Order. Having considered the

submissions by the parties, the Court cond:.;dC'::; thi;lt it would be inappropriate to vacate the

Confidentiality and Protective Order in its entirety, and thus Koch's motion is denied to the

extent it seeks such relief. As to Koch's alternative application, however, the Court would

benefit from additional, more specific, submissions. Accordingly, it is hereby ORDERED that:

        No later than June 3, 2011, Koch is directed to serve and submit to the Court a

representative sample of the particular documents (including deposition transcripts or portions

thereof) that, in his view, have been improperly designated as "Confidential Information" or

"Confidential- Attorneys' Eyes Only Information" by Greenberg, together with a document-by­

document explanation as to the basis for Koch's position that such documents do not warrant
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confidential treatment. Greenberg is directed to serve and submit a particularized response no

later than June 17,2011, and Koch may serve and submit a reply no later than June 24, 2011.

Dated: New York, N ew York
       May 24, 2010

                                                    SO ORDERED




                                                   DEBRA FREEMAN
                                                   United States Magistrate Judge

Copies to:

all parties (via ECF)




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